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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MISSOURI
                                SOUTHEASTERN DIVISION


UNITED STATES OF AMERICA,                       )
                                                )
               Plaintiff,                       )
                                                )
vs.                                             )    No. 1:16CR00134 SNLJ
                                                )
MICHAEL MCNAIR, SR.,                            )
                                                )
               Defendant.                       )

                                 ENTRY OF APPEARANCE

       COMES NOW Scott F. Tilsen, Assistant Federal Public Defender for the Eastern

District of Missouri, and enters his appearance as attorney of record for Defendant.

                                             Respectfully submitted,


                                             /s/Scott Tilsen
                                             Scott F. Tilsen
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                                             ATTORNEY FOR DEFENDANT



                                CERTIFICATE OF SERVICE

       I hereby certify that on August 18, 2020, the foregoing was filed electronically with the
Clerk of the Court to be served by operation of the Court's electronic filing system upon the
United States Attorney’s Office.

                                             /s/Scott Tilsen
                                             Scott F. Tilsen
